Case 3:22-cv-00049-NKM-JCH Document 159 Filed 02/09/23 Page 1 of 2 Pageid#: 1448




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                             CHARLOTTESVILLE DIVISION


  ------------------------------------X
  BABY DOE, A CITIZEN OF AFGHANISTAN     :
  CURRENTLY RESIDING IN NORTH            :                 CIVIL ACTION NO. 3:22-CV-49
  CAROLINA, BY AND THROUGH NEXT          :
  FRIENDS, JOHN AND JANE DOE;AND JOHN :
  AND JANE DOE, CITIZENS OF AFGHANISTAN :
  AND LEGAL GUARDIANS OF BABY DOE,       :
                                         :
       Plaintiffs,                       :
                                         :
  v.                                     :
                                         :
  JOSHUA MAST, STEPHANIE MAST, RICHARD :
  MAST, KIMBERLEY MOTLEY, AND AHMAD :
  OSMANI,                                :
                                         :
       Defendants,                    :
                                       :
  and                                  :
                                       :
  UNITED STATES SECRETARY OF STATE    :
  ANTONY BLINKEN AND UNITED STATES :
  SECRETARY OF DEFENSE GENERAL         :
  LLOYD AUSTIN,                       :
                                      :
       Nominal Defendants.            :

  ------------------------------------X

                                             ORDER

         Having considered Plaintiff's Motion, and Memorandum of Law in Support of Motion, to

  Seal Exhibits A and B to the Reply Memorandum in Support of Plaintiffs’ Motion to Show

  Cause Why Defendants Joshua and Stephanie Mast Should Not Be Held In Contempt, and for

  good cause shown, and the requirements of Local Civil Rule 9(b), and the decisions in Ashcraft

  v. Conoco, Inc., 218 F.3d 288 (4th Cir. 2000), In re Knight Publishing Co., 743 F.2d 231 (4th
Case 3:22-cv-00049-NKM-JCH Document 159 Filed 02/09/23 Page 2 of 2 Pageid#: 1449




  Cir. 1984), and Stone v. Univ. of Maryland, 855 F.2d 178 (4th Cir. 1988) having been met, it is

  hereby ORDERED that Plaintiff's Motion is granted. It is further ORDERED that Exhibits A and

  B to the Reply Memorandum in Support of Plaintiffs’ Motion to Show Cause Why Defendants

  Joshua and Stephanie Mast Should Not Be Held In Contempt thereto is filed under seal.

         It is so ORDERED.


  Charlottesville, Virginia


  Dated: February 9, 2023
                                                      ___________________________
                                                      Joel C. Hoppe
                                                      United States Magistrate Judge




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